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EXHIBIT 2

 

 

 

 

 

 

 

 
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{100 Thruway Plaza Dr., Cheektowaga, NY 14225] + [716-989-0524]

 

 

 

 

 

 

 

 

 

 

 

 

 

www.planetfitness.com
MEMBERSHIP AGREEMENT
CLUB #00117. DATE 11/10/2021 MEMBERSHIP # 0117-19302 EXPIRATION
Name Chris Oldacre Date of Birth 10/02/1973 __
Address 6016 Broadway St Apt1 City Lancaster State NY Zip __ 14086
Cell Phone (716) 730-0054 Home Phone (716) 730-0054
Email Address oldacres@live.com How did you hear about us? BC Guest
Membership Type BCEMP Club Access: Black Card Reciprocal Access
Have you been a member of a gym before?
Membership Fees: $0.00 $0.00 $0.00 $ 0.00
TART-—UP FIRST MONTH PRORATE PRE-PAID (TERM) TT

 

         

s ‘four Monthly veweelnte will be billed fo the account below on or around the 17th of each month beg on _ Until you cancel in accor dance with this agreement.
| Pri i }: For the first months of your membership, your Mot Members ip per month plus applicable taxes.
lar Pricing: After the promotional period ends (if any}, your Monthly Membership Fee wil! be $ per month plus applicable taxes.

 

   

* aia mombersi hasa_ month minimum term (rv aT term not fo exceed 12 mani es

 

   
    
 
 
  
 
 
  
   
    
 

 
   

* Your an Membachin Fee is quaranieed s as you remain a member in good 5

. Y you purchase a PP*, Classe +, or PF Black CG membership at a partici
Planet Fitness mabile app during your membership. Your access to, and use
planelfitiess com/mobilatermns-use.

. An Annual Meribership Fee will be bitied tc your account below on or around the 1s
that cate each year thereafter until you cance! in accordance with the terms of #
freez2 of temporary closune or disruption of servi i

- Te cancel your monthly membership and stop the
Via certified or registered mail to the club address tisted abow
prior te the illing of the Annual Membership Fae, the club rec
eamed when received and & non-refundable.

2 We may, in our disoretion, defer billing of
Annual Membership Fee billing date set
neteliminate any accrued balance you n

jas access to Planet Fitness
igital content, including the PF+ Subseri

ium digital content,
if, iS subject to the

 
 
 
     
 
  
 

 

plus appli
ip Fee is an account maintenance
Pee.

fee and, a8 such, will be bitled notwithstanding a mamin

 

from you delivered io the ciub by the 70th of
anges te take eff
jan the 25th of the month before such bill

pF
it may take | up fo seven {7} bi
n noties from you delivered as described above ne tal

    
 
 
 
 

   

¢ and/or Monthly

  

bership Fee after providing notice to you. Deferral of your Annual Membership Fee in one year does not change the
you to pay a ower Annual Membership Fee, unless we notify you oihenvise. Cancellation of your membership will
y owe.

. If your monthly membership hes a minimum term, and you wish to cancel your membership before the end of the term for reasons other than those listed in Section 9 of this agreement, you must pay a $58 buyout
fee, This buyout fee does notapply to PF+ memberships
= If you provide us with more than one method of payment, you authorize us to charge any amounts you may owe us luding, any mernbership-related obligations, retail transactlor ne purchases to

         

any form of payment you have provided us until such time as you revoke your authorization for that method of payment in notification delivered te the
mall to the acidrees listed above.

. {f your credit or debit card expires, you authorize us fo oblain a new expiraticn date from the card issuer, if we choose to do sc, and/or to continue billing the cand in accordance with the terms cf this agreement
(wheter or nol we nave obtained a new explration date}.

* In accordance with applicable law, # our first attempt to collect any fee under this Agreement is un essful, we may
service fee of upto $25 or the maximum amount allowed by law for each instance we submit or re-submit such pay
oF cancelled payment cards, overdrafts and closed sccounts, We are not liable for any fees charged by your financi:

 

iy wri club in person or prefer

 

ia certified or registered

  
   

  
  

   

ake additional attempts to collect from any/all payment methods you provide us. plus a
‘equest and It is return ie for any reason including, insufficient funds, expired
ion if a paymer ed as uncoll

   
  

   

    

 

 

 

 

 

 

 

 

 

 

 

 

r Cancellation & Billing Policias: | have read and understand cancellation rights and billing policies on the front and back of this agreament. {Member initials)

PRIMARY PAYMENT ACCOUNT ALTERNATIVE PAYMENT AGCOUNT
NAME ON ACCOUNT: NAME ON ACCOUNT:
BANK ACCOUNT #® CREDIT CARD #:

» ROUTING # EXPIRATION D

_ If diffgrent than name and home address above: if different than name and home address above:
BILLING NAME: BILLING NAME:
BILLING ADDRESS: BILLING ADDRESS:
CITY: STAT ZIP CODE: CITY:

 

TE: ZIP CODE:

 

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further agree thai Planet Fitness or PF Corporal
are authorized by roe unser iis agsearvers

 

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fh ema adores provided by ma oe he fest age of ths agreement ot ¥'an eal isnot provided, tral coli fom Pianel Fivess or PF Corporate wil be sant io ne mating addeess provided on ihe frst page of fis agrasmont

cont? Q wpe (Member Signature}

 

 

Cosignor Authorization & Waiver

() Bareo’Guardisn, Planet Fitness does not accept members under the age of 13. In exchange for Planet Fitness allowing my minor child who is 13 years or older to purchase a membership, | agree to the Assumption
of Risk and Privacy clauses in this agreement. | also promise to pay any financial obligation that my minor child does not pay for any reason and acknowledge that the payment information provided above is my account.
Lunderstand and agree that if my minor ohild is under the age of 15, he or she must be accompanied by a parent or guardian at all times while at any Planet Fitness facility.

(| Einancial Cosigner: | promise to pay any financial obligation that the member does not pay for any reason and acknowledge that the payment account information provided above correctly identify my accounts. I agree
to the Privacy clauses in this agreement.

  
    

Name:

   

Authorized Signature

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(understand and expressly agree thal my use of this or any other Planet Fitness facility and/or digital content involves tisk of a ton me or my ny quest whether caused by me or not. | understand that these risks are
inherent in physical activity and my use of the facilities and/or digital content and can range from minor injuries te major injuries, including death, In consideration of my participation in the activities and use of the
facilitios, exercise equipment and services offered by Planet Fitness and such use by my gues uests, if ‘applicable, lunderstand and voluntarily inna full responsibility oad behalf and on my juest's behalf
forthe risk of injury, illness, or loss arising out of or related to my use or my guest’s use b PEGPrO or other
exercise programs or use of othor services, equipment, digital content, and/or programs offered to members. | further understand and eckneulodge that neither Planet Fitness nor PF Co a manufac-
‘tures fitness or other equipment or products available in its facilitias and therefore Planet Fitness and PF Corporate will not be held liable for defective equipment or products.

 

    
   

 
 

Vunderstand | arn not obligated to sign this agreement and should not do so if there are any unfilled blanks. | understand my right of cancellation and the billing and refund policies. | understand my assumption of risk
and | have boon given the opportunity to review and ask questions related to my use of the exercise fanning. 's and other as well as my participation in
exercise programs or other services and/or programs offered to members. | agree to comply with Planet Fitness’ membership policies and club rules that may be communicated to me from time to time, whether in
wilting, electronically, through club signage or verbally. Planet Fitness may, in Its sole discretion, modify any policy or club rule at any time and from time to time without advance notice. Planet Fitness reserves the right,
in its sole discretion, to refund the pro-rated cost of unused services and terminate my membership immediately for violation ef any membership policy or club rule or for any other reasen not prohibited by applicable law.
By signing below, | acknowledge and agres to all of the terms contained on the front and back of this agreement.

ue NoTCe PROVES | NT ORT ANE PE ORMATION ABOUT YOUR PAYMENT OPTIONS: YOU MAY MAKE PAYMENTS ON AN Nees Bee © oF Na BS a EAMENT, PAYING THE FULL AMOUNT
MAY INVOLVE FINANCIAL RISKS TO YGU. READ THIS NOTICE CAREFULLY BEFORE MAKING A DEC. QUIRES CERTAIN HEALTH CLUBS TO

BOST ABOND OR! THER FNANeIAL SECURITY TO PROTECT MEMBERS IN et EVENT THe crue closes. THIS CLUB IS GeMPT FROM THIS Re REQURENENT since We een Meee. THe CEN

‘OF PAYING ON AN INSTALL MEI EFORE IT NEED NO ANCIAL SECURITY. IN DECIDING WHETHER TO.

BASIS, YOU SHOULD BE AWARE Thar 1 THE CLUB CLOSES, ALTHOUGH HE CLUB WL REMAIN LEGALLY LIABLE FOR A REFUND, YOU MAY RISK TOSING YOUR MONEY | iF HE Ce is UNABLE 10

MEET (TS FINANCIAL OBLIGATIONS TO MEMBERS.

 

 

 

aE Behe 11/10/2021 ao CU 11/10/2021
Kembers Sianaire Date Planet Fitness Authorized Signature Date

NOTICE TO BUYER: DO NOT SIGN THIS CONTRACT UNTIL YOU HAVE READ ALL OF IT AND IT IS COMPLETELY FILLED OUT.

CONSUMERS RIGHT TO CANCELLATION. YOU MAY CANCEL THIS CONTRACT WITHOUT ANY PENALTY OR FURTHER OBLIGATION
WITHIN THREE (3) DAYS FORM THIS DATE. Notice of cancellation shall be in writing subscribed by the buyer and mailed by registered or
certified United States mail to the seller at the address specified in such form. Such notice shall be accompanied by the contract forms,
membership cards and any other documents or evidence of membership previously delivered to the buyer. All moneys paid pursuant to
such contract shall be refunded within fifteen (15) business days of receipt of such notice of cancellation.
THIS AGREEMENT WILL CONTINUE TO RENEW EVERY MONTH IN THE AMOUNT OF $ sOUNTIL YOU CANCEL IT.
TO CANCEL YOUR MONTHLY MEMBERSHIP YOU MUST DELIVER WRITTEN NOTIFICATION TO THE CLUB EITHER IN
PERSON, BY CERTIFIED OR REGISTERED MAIL, OR BY EMAIL TO pfmemberconcerns@planetfitness.com. YOU MUST
DELIVER YOUR CANCELLATION NOTICE BY THE 10TH OF THE MONTH AND IT MAY TAKE UP TO SEVEN (7) BUSINESS
DAYS FOR MEMBERSHIP CHANGES TO TAKE EFFECT. IF YOU SIGNED UP ONLINE, YOU MAY CANCEL THIS AGREEMENT
BY ACCESSING YOUR ONLINE ACCOUNT THROUGH WWW.PLANETFITNESS.COM.

© 2021 PLANET FITNESS FRANCHISING LLC
CREEASR-READAND UNDERSTAND Ti A GREEMENT] BEFORE GIGNING.5S

1. Parties

Planet Fitness (as previously defined) and you agree that by signing this
agreement, you are purchasing a membership or services and agree to
all the terms contained in this agreement. The terms “you” and “Planet
Fitness” include heirs, estates, agents, representatives, officers, direc-
tors, shareholders, managers, members, successors, affiliates, parents,
subsidiaries and employees. Both parties make this agreement on be-
half of, and it binds, all these included persons and entities. It is your
responsibility to notify Planet Fitness of any change in your mailing ad-
dress, billing information or contact information.

2. Representations
A) Physical Condition & No Medical Advice: You represent that you are
in good physical condition and have no medical reason or impairment
that might prevent you from your intended use of Planet Fitness’ facili-
ties or services. You acknowledge that Planet Fitness did not give you
medical advice before you joined, and cannot give you medical advice
after you join. We do not give members advice relating to their physical
condition or ability to use the facilities or services, so if you have any
health or medical concerns now or after you join, please discuss them
with your doctor before using the facilities or services.

B) Liability for Property: Neither Planet Fitness nor PF Corporate (as
previously defined) is liable to you or your guest for any personal prop-
erty that is damaged, lost, or stolen while on or around Planet Fitness's
premises including a vehicle or its contents or any property left in a
locker. If you or your guest cause any damage to Planet Fitness’ facili-
ties including equipment, you are liable to Planet Fitness for its cost of
repair or replacement.

C) Entire Agreement & Enforcement: You acknowledge that neither
Planet Fitness, nor anyone else, made any representations or promises
upon which you relied that are not stated in this agreement or applicable
rider. This document and any applicable rider contains the entire agree-
ment between you and Planet Fitness and replaces any oral or other
written agreement. If a court declares any part of this agreement inval-
id, it will not invalidate the remaining parts, which continue unaffected.
If Planet Fitness does not enforce any right in this agreement for any
reason, Planet Fitness does not waive its right to enforce it later. This
agreement and all physical or electronic copies hereof will be deemed
to be valid and authentic and you intend and agree that such copies will
be given the same legal effect as the original signed agreement.

3. Membership
A) General: Your membership permits you to use certain of Planet Fit-
ness’ premises, facilities, equipment, digital content, and services. You
are required to pay the dues and fees required by this agreement even
if you do not use the facilities, equipment, digital content, or services
made available to you. Your access and right to use Planet Fitness’
premises, facilities, equipment, digital content, and services may be
limited, removed, or cancelled as provided for by this agreement or in
accordance with applicable law. Your membership is subject to all cur-
rent company policies, rules, terms, conditions and limitations including,
PF Black Card® benefit rules, transferability rules, quest privilege rules,
and dress code. Your membership gives you no rights in Planet Fitness,
PF Corporate, its management, ownership, property or operation. Plan-
et Fitness may assign or transfer your membership in its sole discretion.
You have no right to assign or transfer your membership or this agree-
ment. Planet Fitness can sell memberships at different rates and terms
than yours. Any special promotional membership or rate regarding privi-
leges, usage, hours, benefits or facilities is valid only at your home club,
unless otherwise provided by Planet Fitness in a signed writing.
B) Identification: You must provide a photo to be kept on file for identifi-
cation purposes, which we may require you to update from time to time,
unless prohibited by state or local law.
i | i F®): Planet Fitness may offer pre-
scheduled group fitness instruction from time to time. The number of
participants in group sessions may be limited. Group sessions will be
made available either on an appointment basis or on a “first come, first
served” basis. These classes are strictly informational and instructional
in nature and not intended as personal training.
D) PF Black Card Reciprocal Access: If you purchase a PF Black Card
Membership, there are additional rules and limitations governing recip-
rocal access, including the requirement to sign in at any visiting (non-
home club) location, Reciprocal access is limited to 10 visits per month
to a visiting location. Additional fees may apply if you exceed 10 visits
to the same visiting club in a month. Each time you visit a club outside
of the country in which your home club is located, an additional fee may

apply.

E) PE Black Card Guest Privileges and Other Benefits: PF Black Card
members may bring one guest per day for free to any location. All
guests must be 18 years old or at least 13 years old if accompanied by
a parent/guardian and must sign in and sign a release of liability and
assumption of risk document. Adult guests must present photo identifi-
cation when signing in. The PF Black Card member must accompany
the guest and remain on the premises during the entire visit, PF Black
pare guests are not entitled to use tanning or any other PF Black Card
benefit or amenity. PF Black Card members must be 18 years old to
use the tanning facilities. Tanning may be further restricted by your state
and/or local laws, ordinances, and regulations, which include, among
other things, no tanning more often than once in a 24-hour period for
example. You agree to abide by all such tanning restrictions.

F) Digital Content: If you purchase a PF+, Classic +, or PF Black Card
membership at a participating location, you will be granted access to
Planet Fitness’s premium digital content, including a PF+ Subscription
on the Planet Fitness mobile app during your membership. Your access
to, and use of, Planet Fitness’s premium digital content, including the
PF+ Subscription, is subject to the Terms of Use available at: https://
www.planetfitness.com/mobile/terms-use. Where the Terms of Use
conflict with this membership agreement, the terms of this membership
agreement will apply.
G) PE+ Memberships: If you purchase a PF+ membership, you are lim-
ited to 1 visit per month at your home club.

H) Transfer of Location: If you are a monthly member, you can transfer
your membership from your home club to another club provided you
are current on your monthly dues and have been a member for at least
90 days. Prepaid memberships are not transferable. A transfer fee may
apply.

1) Membership Freeze: Your membership can be frozen for verified
medical reasons only at time of illness, injury or medical condition. Your
freeze will be limited to the time indicated as necessary by your physi-
cian, up to a maximum of 3 months. Planet Fitness may also, upon
notice to you, freeze your membership. Your monthly dues will be auto-
matically reinstated at the end of your freeze and billed to the account
on file with Planet Fitness unless you cancel your membership or you
are approved for a longer freeze. Please note that you will still be billed
for your Annual Membership Fee when it is due, even if your account
is frozen.

J) Non-Discrimination: Planet Fitness does not tolerate discrimination or
harassment of any person on its premises on the basis of race, national
origin, ancestry, color, creed, religion, sex, sexual orientation, gender,
gender identity, age, disability, or any other basis protected by law. All
members will have access to restroom and locker room facilities that
correspond to their sincerely held self-reported gender identity to the
extent permitted by applicable law. For more information about our non-
discrimination policies, please visit www.planetfitness.com or inquire at
the front desk.
K i t: Planet Fitness may, from time
to time, make changes to this agreement, other than to your guaranteed
Monthly Membership Fee. Such revisions will be effective, unless oth-
erwise stated, 30 days after notice. Your continued membership shall
constitute acceptance of these changes.

L) Privacy: Planet Fitness and PF Corporate collect, use and disclose
certain personal information of members in accordance with their Pri-
vacy Policies, which are available free of charge upon request. To learn
more about what data PF Corporate collects, how that data is used, and
what privacy options you may have, please see the PF Corporate pri-
vacy policy, which is available at httos:/Avww.planetfitness.com/privacy-
policy. Please review the Privacy Policy before signing this agreement
as it contains important information relating to your personal informa-
tion.

4. Rules & Regulations

You agree to follow Planet Fitness’ membership policies and club rules,
some of which may be found at www.planetfitness.com. Planet Fitness
may, in its sole discretion, modify the policies and any club rule without
notice at any time. Club rules vary by location and all signs posted in
a club or on the premises and any verbal communication from Planet
Fitness shall be considered a part of the club rules. Should you have
any questions about our policies and rules, you may inquire at the front
desk. Planet Fitness reserves the right, in its sole discretion, to refund
the pro-rated cost of unused services and terminate your membership
at any time, effective immediately, for violation of any membership pol-
icy or club rule or for any other reason not prohibited by applicable law.

5. Dress Code

Planet Fitness strives to provide a safe and comfortable environment
for all members. As such, Planet Fitness management and staff may
enforce, and you agree to abide by, a dress code in all areas of the
club. Clothing that may be perceived as intimidating, revealing or of-
fensive, as well as giothing that may present a safety hazard or damage
equipment, is not allowed. Protective eyewear for tanning equipment
is required at all times. The minimum age for access to the tanning
equipment is 18 years of age. Personal protective equipment may also
be required.

6. Account Information Notifications

Planet Fitness and PF Corporate may contact you via telephone, email,
text message or other means from time to time for the purpose of notify-
ing you of issues related to your membership or billing information, for
offers that may be of interest to you, or for automatic payment process-
ing issues. By providing us with your contact information and signing
this agreement, you give your prior express written consent to receive,
at any address or phone number provided to us, membership and bill-
ing-related communications from us or our authorized delegate to the
extent permitted by applicable law, including without limitation the Tele-
phone Consumer Protection Act and the Fair Debt Collection Practices
Act. You acknowledge that calls and text messages may be sent via
auto-dialer and that standard message and data rates may apply. You
are not required to authorize calls or text messages to become a Planet
Fitness® member, and you may opt out at any time by request if called
or by replying “STOP” in response to a message.

7. Facilities & Services

A) Planet Fitness reserves the right at any time to remove, discontinue,
repair or replace the equipment and services available to members
without any effect on this agreement. Planet Fitness also reserves the
right to make changes to the type or quantity of equipment, programs
or services offered to members and to alter the hours of operation in
Planet Fitness’ sole discretion. Planet Fitness also reserves the right
to change the type or quantity of digital content made available to you.
You acknowledge and agree that the equipment, programs and services
currently available at the facility are subject to change from time to time
and are offered on a “first come, first served basis.”

B) Planet Fitness regularly closes its facilities (or portions of its facilities)
for maintenance or as required by law, on a temporary basis and also
closes on selected holidays, etc. and such temporary closures will have
no effect on this agreement so long as such temporary closures are rea-
sonable. In the event of a temporary closure of the club that lasts more
than fourteen (14) days, Planet Fitness may freeze your membership.
Monthly Membership Fees will not be billed during the freeze, unless
you are a PF+, Classic +, or PF Black Card member (in which case a
portion of your Monthly Membership Fees may continue to be billed, as
described below). You will receive a credit towards your next Monthly
Membership Fee for the period of time during which your membership
was frozen due to the closure during the previous billing cycle if the
period exceeds fourteen (14) consecutive days. For example, if your
membership is frozen due to a closure for half of the month, you would
receive a credit equal to half of the prior month’s Monthly Membership
Fee, less any amount billed in exchange for continued membership ben-
efits and perks (as described below). If your home club is permanently
closed, moved or sold, or in the event of a temporary closure, Planet
Fitness reserves the right to assign and transfer your membership to
another club within 8 miles of your home club, in accordance with your
Chin the SINE Mat hotr-noMNy cle es esedter more tiarte cyt! GePibcbttatve df neinber ors case and trate ctbmrats

you are a PF+, PF Black Card or PF Classic + member at a lub offer-
ing premium digital content, Planet Fitness may temporarily reduce your
Monthly Membership Fees to$ sper month in exchange for your
continued access to membership benefits and perks, including your ac-
cess to premium digital content, partnership discounts and other mem-
bership benefits. If this occurs, you will have the option to decline this
offering and freeze your membership by notifying Planet Fitness, which
will cause you to, during the freeze, lose access to Planet Fitness’s pre-
mium digital content. When your home club reopens following such a
closure, billing of your full Monthly Membership Fees will resume.

D) In the event Planet Fitness discontinues its premium digital content
offers, Planet Fitness may, upon notice to you, convert your member-
ship to a membership type that does not include digital access, unless
prohibited by state or local law.

8. Dues, Fees, Charges & Taxes

A) Payment Authorization. You have full control over the payment au-
thorization and can stop it at any time by notifying Planet Fitness as set
forth on the front page of this agreement. You are responsible for notify-
ing your bank or credit card company of any error that appears on your
statement in a timely manner. You must notify Planet Fitness within 60
days of a claimed error on your statement.

B) Charges & Taxes: Planet Fitness has the right to add to your prepaid
dues or to your monthly dues any applicable tax imposed by the govern-
ment as well as any utility charges or surcharges related to the facility

9. Cancellation Rights (Buyer’s Rights)

You may also cancel this contract for any of the following reasons: If
upon a doctor’s order, you cannot physically receive the services be-
cause of significant physical disability for a period in excess of six
months. If you die, your estate shall be relieved of any further obligation
for payment under the contract not then due and owing. If you move
your residence more than twenty-five (25) miles from any health club
operated by seller. If the services cease to be offered as stated in the
contract.

If, at the time you signed this contract, the health club was planned or
under construction and the health club or services are not available
within one year from the date you executed the contract. All moneys
paid pursuant to such contract cancelled for the reasons contained in
this subdivision shall be refunded within fifteen (15) days of receipt of
such notice of cancellation; provided however that the seller may retain
the expenses incurred and the portion of the total price representing the
services used or completed, and further provided that the seller may
demand the reasonable cost of goods and services which the buyer has
consumed or wishes to retain after cancellation of the contract. In no
instance shall the seller demand more than the full contract price from
the buyer. If the buyer has executed any credit or loan agreement to pay
for all or part of health club services, any such negotiable instrument
executed by the buyer shall also be returned within fifteen days.

10. Limitation of Liability

Unless controlling legal authority requires otherwise, any award by an
arbitrator or a court is limited to actual compensatory damages. Specifi-
cally, neither an arbitrator nor a court can award either party any indi-
rect, special, incidental, consequential or punitive damages, even if one
party told the other party that they might suffer these damages.

11. Corporate Memberships

If you are participating in a corporate membership program, you grant
Planet Fitness the right to verify your eligibility for the program (includ-
ing the right to verify your employment status, if applicable). If the pro-
gram or your eligibility for the program terminates, Planet Fitness may
immediately terminate your membership and/or require you to pay the
applicable Monthly and Annual Membership Fees in order to continue
your membership.

12. Binding Individual Arbitration and Class Action Waiver
In the unlikely event that Planet Fitness and/or PF Corporate is unable
to resolve a complaint you may have to your satisfaction (or is unable to
resolve a dispute with you after attempting to do so informally), subject
to your right to opt-out below, you, Planet Fitness and/or PF Corpo-
rate each agree to resolve such disputes through binding arbitra-
tion or small claims court rather than a court of general jurisdic-
tion. Arbitration utilizes a neutral arbitrator instead of a judge or jury
and the procedures are generally simpler and more limited than those
applicable to a lawsuit in court. Arbitration is subject to limited review by
courts, but an arbitrator can award the same damages and remedies
that a court can award. For the purposes of this arbitration provision, a
“dispute” between us shall be broadly construed to mean any dispute,
claim, or controversy between you and Planet Fitness or PF Corporate,
including any dispute, claim, or controversy arising from or relating to
your membership, this agreement, your access to or use of a Planet
itness club, or your access to and use of any Planet Fitness digital
content, whether based in contract, tort, warranty, regulation, statute, or
any other legal or equitable basis.
A) Class Action Waiver, To the fullest extent permitted by law, you, Plan-
et Fitness and PF Corporate acknowledge and agree that you and we
each are waiving the right to a trial by jury and the right to participate in
a class action, either in court or in arbitration. This means that neither
you, Planet Fitness or PF Corporate may join claims in arbitration with

laims as
may not
consolidata any claims into a class proceeding. However, if this class
action waiver is held unenforceable as to all or some parts of a dispute,
to the extent that any claims must proceed on a class, consolidated,
or representative basis, such claims must be litigated in the state or
federal courts of the state in which your home club is located and not in
arbitration, with any remaining parts proceeding in individual arbitration.
B) Arbitration Exceptions. Nothing in this arbitration provision shall pre-
vent you, Planet Fitness or PF Corporate from: (i) bringing an individual
action in small claims court if the dispute is within the jurisdiction of that
court, or (ii) pursuing an available enforcement action through any lo-
cal, state, or federal governmental agency. For any disputes not subject
to mandatory arbitration under this section, you agree to submit the
dispute to the exclusive jurisdiction of the state or federal courts of the
state in which your home club is located for resolution, and you further
irrevocably waive any right you may have to trial by jury in any such,
action or proceeding.

C) Arbitration Rules. The Federal Arbitration Act, 9 U.S.C. § 1 et seq.
shall govern the interpretation and enforcement of this arbitration provi-
sion. For simplicity and fairness, arbitration will be conducted on an
individual basis before a single arbitrator in accordance with the then
current American Arbitration Association’s Consumer Arbitration Rules
(“AAA Consumer Rules"), available at www. adr.org or by calling the AAA
at 1-800-778-7879. The arbitrator, and not any local, state, or federal
court, shall have the exclusive authority to determine all issues regard-
ing the interpretation, applicability, and enforcement of this agreement
and all issues regarding the arbitrability of the dispute, including but
not limited to any claim that all or part of this arbitration provision is
void or voidable. The arbitrator is authorized to issue any and all rem-
edies authorized by law. The decision of the arbitrator shall be final and
the arbitration award enforceable by any court with jurisdiction over the
parties. In the event of a conflict between the terms of this arbitration
provision and the AAA Consumer Rules, the terms of this arbitration
provision shall control unless the arbitrator determines that the appli-
cation of any inconsistent arbitration provision terms would result in a
fundamentally unfair arbitration. You, Planet Fitness and PF Corporate
agree that the arbitration will be kept confidential and that the existence
of the proceeding and any element of it (including, without limitation,
any pleadings, briefs or other documents submitted or exchanged and
any testimony or other oral submissions and awards) will not be dis-
closed beyond the arbitration proceedings, except as may lawfully be
required in judicial proceedings relating to the arbitration, compelled by
a court of competent jurisdiction following service of a subpoena and
prior notice to you, Planet Fitness or PF Corporate, or as mandated by
applicable disclosure rules and regulations of securities regulatory au-
thorities or other governmental agencies. This arbitration provision shall
survive termination of this agreement or your membership with Planet
Fitness for any reason.

D) Arbitration Procedures. You and Planet Fitness and/or PF Corporate
agree to attempt initially to solve all disputes subject to arbitration by
conducting good-faith, informal negotiations. Before commencing arbi-
tration, the party seeking arbitration must provide the other party with
written notice of the dispute that includes: (i) the name, mailing address,
and email and/or phone number of the party giving notice; (ii) a detailed
description of the dispute; and (iii) the relief sought. Your written notice
must be sent via certified mail or by any nationally recognized delivery
service (e.g. UPS, Federal Express, etc.), or by hand delivery to either:
(A) 100 Thruway Plaza Dr., Cheektowaga, NY 14225 (if notice is being
sent to Planet Fitness) or (B) Planet Fitness, Attn: Legal Department, 4
Liberty Lane West, Floor 2, Hampton, New Hampshire 03842 (if notice
is being sent to PF Corporate). Planet Fitness’s or PF Corporate’s writ-
ten notice will be sent to you via the contact information we have in our
records for you. You, Planet Fitness and PF Corporate agree to use
good-faith efforts to attempt to resolve the dispute within thirty (30) days
from the date the notice of the dispute is sent. If you and Planet Fitness
or PF Corporate do not reach agreement on resolving the dispute within
those thirty (30) days, the party seeking arbitration may commence ar-
bitration in accordance with the AAA Consumer Rules. Any in-person
arbitration hearings will take place in the county (or other municipality)
where your home club is located, unless the parties agree to a different
location.

E) Arbitration Fees. Planet Fitness or PF Corporate will pay, or if ap-
plicable, reimburse you for all AAA filing, administration, and arbitra-
tor fees and expenses for any arbitration commenced by you or us.
Notwithstanding the forgoing, nothing herein shall limit the arbitrator's
discretion to allocate compensation, expenses, and fees in accordance
with Rule R-44(c) of the AAA Consumer Rules.

F) . You may reject this arbitration provision by sending
written opt-out notice to us. The opt-out notice must be sent no
later than thirty (30) days after you sign this agreement. You must
send written notice via email to cheektowaga.ny@ecp-pf.com or
by mail to 100 Thruway Plaza Dr., Cheektowaga, NY 14225. The
opt-out notice must include: (i) your name, (ii) your mailing and email
address, and (iii) your request to be excluded from this mandatory arbi-
tration provision. Your rejection of this arbitration provision shall have no
effect on the remaining provisions of this agreement.

G) lic Inj ion. Nothing in this arbitration provision shall be con-
strued as a waiver of your right to pursue a public injunction under Cali-
fornia law to the extent you have standing to bring such a claim.

 

IMPORTANT NOTICE FOR HEALTH CLUB MEMBERS:

New York State law requires certain health clubs to have a bond or other form of financial securi

to protect members in the event the

club closes. This club is exempt from this requirement. YOU MAY ASK A REPRESENTATIVE OF THE CLUB FOR PROOF OF THE CLUB’S
COMPLIANCE WITH THIS LAW. YOU MAY ALSO OBTAIN THIS INFORMATION FROM THE NEW YORK STATE DEPARTMENT OF STATE,
DIVISION OF LICENSING SERVICES, 162 WASHINGTON AVENUE, ALBANY, N.Y. 12231.

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Club #: Member #:

We collect certain information about our members and potential members. To learn more
about what data we collect, how we use that data, and what privacy options you may have,
please see our Privacy Policy. For California residents age 13 to 16: Planet Fitness will not
sell your personal information to third parties as prohibited by law. If you would like to opt in
to the sale of your personal information, please have your parent or guardian send a request
to privacy@planetfitness.com. | have received this data collection notice and have been
provided an opportunity to review the Privacy Policy.

Signature: ao ee ., -— Date: 11/10/2021
